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 8
                               UNITED STATES DISTRICT COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10
                                        SAN JOSE DIVISION
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12
     APPLE INC.,                                      Case No. 5:22-CV-2637-EJD
13
                     Plaintiff,                       DEFENDANTS WEN SHIH-CHIEH, JIM
14                                                    HARDAGE, WEIDONG YE, LAURENT
               vs.                                    PINOT, PRABHU RAJAMANI AND KAI
15                                                    WANG’S REPLY IN SUPPORT OF
   RIVOS INC., WEN SHIH-CHIEH a/k/a                   THEIR MOTION TO DISMISS THE
16 RICKY WEN; BHASI KAITHAMANA; JIM                   AMENDED COMPLAINT
   HARDAGE; WEIDONG YE; LAURENT
17 PINOT; PRABHU RAJAMANI; and KAI                    Date:      March 2, 2023
   WANG                                               Time:      9:00 a.m.
18                                                    Courtroom: 4
               Defendants.                            Judge:     The Hon. Edward J. Davila
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                                                      Trial Date: None Set
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                                                                          Case No. 5:22-CV-2637-EJD
     AND
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 1 I.       INTRODUCTION
 2          Apple’s Second Amended Complaint (“SAC”) fails to state a claim against the Individual
 3 Defendants. In its Opposition to the Individual Defendants’ Motion to Dismiss (Dkt. 140; “Opp.”),
 4 Apple relies extensively on allegations outside the SAC to bolster its inadequate pleading. 1 In ruling
 5 on a motion to dismiss under Rule 12(b)(6), however, “the Court reviews the adequacy of Plaintiffs’
 6 claims asserted in the complaint, not the claims they assert in their brief.” In re Accuray, Inc.
 7 Shareholder Deriv. Litig., 757 F. Supp. 2d 919, 926 (N.D. Cal. 2010) (rejecting plaintiffs’ “attempt
 8 to remedy their complaint by attaching declarations to their [motion to dismiss] opposition”). Even
 9 accepting Apple’s allegations in its SAC as true, the most it has pled is that the Individual
10 Defendants properly acquired information Apple considers confidential when working at Apple and
11 inadvertently retained some of that information after leaving—but not that the Individual
12 Defendants ever disclosed or used that information to benefit their new employer Rivos. As a matter
13 of law, those allegations do not state DTSA or breach of contract claims. The Individual Defendants
14 therefore respectfully request that the Court dismiss the claims against them with prejudice.
15 II.      APPLE HAS FAILED TO STATE A DTSA CLAIM AGAINST THE INDIVIDUAL
            DEFENDANTS
16
            A.      Apple Has Failed to Identify Any Misappropriated Trade Secrets
17
            Apple argues that since the parties have resolved their dispute over the sufficiency of Apple’s
18
     trade secret disclosure, “[t]here should no longer be any issue over identification of trade secrets in
19
     the pleadings.” Opp. at 15. This is incorrect, as the allegations in the SAC must be evaluated on
20
     their own merits—not on later developments in the litigation. See In re Accuray, 757 F. Supp. 2d
21
     at 926. Apple defends its sparse description of the trade secrets in the SAC by arguing that a plaintiff
22
     “need not spell out the details of the trade secret[.]” Opp. at 16 citing Autodesk, Inc. v. Zwcad
23
     Software Co., 2015 WL 2265479, at *5 (N.D. Cal. May 13, 2015). But in Autodesk, the plaintiff
24
25
   1 For example, Apple attached a deposition transcript, (Dkt. 140-3), a transcript from a motion to
26 compel hearing (Dkt. 140-2), and an affidavit describing recent discovery disputes (Dkt. 140-1,
   Wilson Decl.) to its Opposition, and discusses them at length. See, e.g., Opp. at 5, 8-9, 12, 15-16,
27 23, 25. None of these materials can be considered in ruling on the instant 12(b)(6) motion. See
28 Pellerin v. Honeywell Int’l, Inc., 877 F. Supp. 2d 983, 989–90 (S.D. Cal. 2012); see also Schneider
   v. California Dept. of Corrections, 151 F.3d 1194, 1197 n.1 (9th Cir. 1998).
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 1 described specific portions of source code in two releases of AutoCAD software that comprised its
 2 trade secrets, including the “portions of code that underlie the commands, interfaces and program
 3 files associated with” dozens of specific features that were used in a competitor’s software program.
 4 Autodesk, Inc., 2015 WL 2265479, at *5. In contrast, here, Apple has only alleged generally that
 5 “confidential Apple source code” is at issue. See, e.g., SAC ¶¶ 7, 146, 149-50. That is not enough.
 6 Apple’s reliance on M.A. Mobile LTD. v. Indian Inst. Of Tech. Kharagpur, 2010 WL 3490209 (N.D.
 7 Cal. Sept. 3, 2010) in defense of its trade secret description in the SAC is also misplaced. In M.A.
 8 Mobile, the plaintiff produced source code containing the trade secret along with a working
 9 prototype. Id. at *4. Nothing alleged in the SAC rises to this level of detail.
10          B.      Apple Has Failed to Plead Actual Misappropriation
11          In its SAC, Apple alleges that the Individual Defendants properly acquired trade secrets
12 while working at Apple, and maintained possession of those trade secrets after starting work at
13 Rivos. See SAC ¶¶ 145-165. At most, Apple’s DTSA claim is premised on allegations that the
14 Individual Defendants retained Apple files (see Opp. at 20-23)—not that they disclosed or used
15 them. Such allegations fail as a matter of law. See, e.g., Power Integrations, 2020 WL 1467406, at
16 *19 (S.D. Cal. Mar. 26, 2020) (to state a DTSA claim, “a plaintiff must prove more than a
17 defendant’s mere possession of trade secrets”); see also Zurich Am. Life Ins. Co. v. Nagel, 538 F.
18 Supp. 3d 396, 404–405 (S.D.N.Y. 2021) (dismissing a DTSA claim where the employee accused of
19 misappropriation “was authorized to acquire this information as part of his job, so he did not acquire
20 it by improper means.”); Prominence Advisors, Inc. v. Dalton, 2017 WL 6988661, at *4 (N.D. Ill.
21 Dec. 18, 2017) (complaint did not state a claim for misappropriation against a former employee who
22 had acquired trade secrets in the course of his work at the former employer and retained access to
23 them after leaving).
24          In its Opposition, Apple asserts that courts in this District have found that the “type of
25 conduct” alleged in the SAC constituted misappropriation. Opp. at 23. However, in each of these
26 cases the departing employees wrongfully acquired trade secrets and then took further steps to
27 either use the trade secrets or otherwise harm their former employer. None of these cases support
28 Apple’s claim that retaining confidential files is by itself sufficient for liability under the DTSA.

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 1          In Henry Schein, Inc. v. Cook, a departing Henry Schein, Inc. (“HSI”)              employee
 2 downloaded customer and sales data, but also “attempted to divert” customers to her new employer,
 3 including by “visit[ing] the offices of certain HSI customers, delet[ing] the HSI product ordering
 4 icon from their computer systems and destroy[ing] HSI catalogues and business cards.” 191 F.
 5 Supp. 3d 1072, 1075 (N.D. Cal. 2016). In contrast, here, no Individual Defendant has been accused
 6 of attempting to sabotage Apple’s customers or otherwise prevent them from placing orders. In
 7 Comet Technologies USA v. Beuerman, the defendant downloaded “everything needed to produce
 8 one of Comet’s newest and most valuable technologies,” and was confronted about downloading
 9 those specific files during his exit interview. 2018 WL 1990226 at *3-4 (N.D. Cal. Mar. 15, 2018).
10 During the exit interview, the employee denied having copies of the files, and also lied about the
11 fact that he was leaving to work for a competitor. Id. at *4. Here the Individual Defendants have
12 cooperated with the investigation into the alleged misappropriation. For example, both Mr. Wen
13 and Mr. Pinot have surrendered the devices Apple identified as containing its file s to a forensic
14 examiner appointed by Apple. SAC ¶¶ 67, 98, 127.
15          Apple also cites WeRide Corp. v. Kun Huang as an example of where misappropriation was
16 found for “this type of conduct.” Opp. at 20. Not so. In WeRide, the plaintiff identified over 1,000
17 files that were downloaded and several hundred that were accessed after the departing employee
18 started working for the defendant (the plaintiff’s competitor). 379 F. Supp. 3d 834, 844-46 (N.D.
19 Cal. 2019). Further evidence of misappropriation included the fact that the defendant placed a
20 component “in the same location” as the plaintiff, indicating that the employee was using the
21 claimed trade secrets at his new job. Id. at 850. Here, nothing in the SAC alleges that the Individual
22 Defendants have accessed or used Apple trade secrets since leaving Apple.
23          Apple’s reliance on Carl Zeiss is equally misplaced. In that case, the departing employee
24 downloaded trade secrets and then “accessed numerous files” after starting at his new job. Carl
25 Zeiss Meditec, Inc. v. Topcon Med. Sys., Inc., 2021 WL 1186335, at *3 (N.D. Cal. Mar. 1, 2021).
26 He also shared those files with others at his new employer, and used the files to develop and test a
27 “crucial feature.” Id. Here, in contrast, nothing in the SAC alleges that the Individual Defendants
28 have used or shared Apple trade secrets with their Rivos colleagues. Contrary to Apple’s assertions,

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 1 Carl Zeiss does not permit a claim for misappropriation to go forward merely by alleging that a
 2 departing employee is in possession of trade secrets.
 3          C.     Apple Has Failed to Plead Threatened Misappropriation
 4          Apple attempts to address the deficiency in its DTSA claims by arguing that it can state a
 5 claim for misappropriation by alleging threatened misappropriation. As a general matter, the
 6 DTSA does permit a court to enjoin “any actual or threatened misappropriation.” 18 U.S.C. §
 7 1836(b)(3)(A)(i). But “a plaintiff must prove more than a defendant’s mere possession of trade
 8 secrets” to state a DTSA claim. Power Integrations, 2020 WL 1467406, at *19. Courts “cannot
 9 presume the transfer of trade secret information occurs simply because Defendants possess it[.]”
10 Kimera Labs Inc. v. Jayashankar, 2022 WL 11965058, at *9 (S.D. Cal. Oct. 20, 2022). Rather, the
11 plaintiff “must satisfy its pleading burden by alleging how improper acquisition, disclosure, or use
12 occurred or is threatened by each Defendant.” Id. The fact that a former employee is in possession
13 of trade secrets, without more, does not state a claim for misappropriation. Prominence Advisors,
14 Inc., 2017 WL 6988661, at *4.
15          Apple cites to Fitspot Ventures, LLC v. Bier, 2015 WL 5145513, at *1 (C.D. Cal. Sept. 1,
16 2015) to support its theory that it can bring a claim for threatened misappropriation against the
17 Individual Defendants. Opp. at 21. In Fitspot, the departing employee not only downloaded trade
18 secrets, but also “intentionally disabled communication” between two key systems so that the
19 plaintiff was “completely cut off from the activities of its customers and therefore deprived of its
20 ability to manage its business.” 2015 WL 5145513, at *2. In evaluating the element of “threatened
21 use or disclosure,” the court in Fitspot noted that the departing employee had already “chang[ed]
22 the passwords to prevent Plaintiff access to source code and customer information[.]” Id. at *3.
23 This, combined with the departing employee’s retention of source code and customer lists, led the
24 court to conclude that there was “actual or threatened misappropriation.” Id.
25          Here, the SAC does not allege that any Individual Defendant has done anything beyond
26 simply retaining Apple files inadvertently or as part of their employment at Apple. There is no
27 allegation of sabotage, changing passwords, copying, or any bad act beyond simply retaining files.
28 As the Individual Defendants’ motion explained, the inadvertent retention of a trade secret after

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 1 leaving a job, by itself, is insufficient to state a DTSA claim. See Dkt. 100 (“Mot.”) at 11; see also
 2 Angel Oak Mortgage Solutions LLC v. Mastronardi, 593 F. Supp. 3d 1234 (N.D. Ga. 2022);
 3 Packaging Corp. of America, Inc. v. Croner, 419 F. Supp. 3d 1059 (N.D. Ill. 2020).
 4           D.     Apple Has Failed to Plead Harm
 5           Apple has also failed to allege the requisite harm to support its DTSA claim. Instead of
 6 articulating specific facts “to support an inference of harm,” Apple falls back on its inevitable
 7 disclosure theory, which courts have roundly rejected. See Cooper Interconnect, Inc. v. Glenair,
 8 Inc., 2015 WL 13722129, at *4 (C.D. Cal. Feb. 3, 2015). The facts alleged in the SAC demonstrate
 9 at most that the Individual Defendants inadvertently retained confidential files but have now
10 cooperated to sequester and return those files to Apple. SAC ¶¶ 67, 98, 127. This does not support
11 Apple’s claim of harm. See DTC Energy Grp., Inc. v. Hirschfeld, 2018 WL 1138295, at *7 (D.
12 Colo. Mar. 2, 2018), aff’d, 912 F.3d 1263 (10th Cir. 2018) (finding no risk of harm where a
13 departing employee downloaded information, but later surrendered the data to a forensic examiner).
14           E.     Apple Has Failed To Plead DTSA Claim Against Any Individual Defendant
15                  1.     Apple Has Not Stated a DTSA Claim Against Mr. Hardage
16           Apple has failed to state a DTSA claim against Mr. Hardage because it has not identified a
17 trade secret that Mr. Hardage misappropriated. Apple alleges only that Mr. Hardage retained “nine
18 directories named with specific confidential SoC project names” and a “Home” directory. SAC ¶
19 74. Apple’s forensic investigator, Daniel Roffman, asserted that “it is likely” that Mr. Hardage
20 transferred a “folder containing Apple confidential files” from his Apple-issued computer to a USB
21 drive, but stopped short of identifying the specific files or information at issue. See Dkt. 22-4 ¶¶
22 35-36.2 This bare description does not identify a protectable trade secret. See CleanFish, LLC v.
23 Sims, 2020 WL 4732192, at *3 (N.D. Cal. Aug. 14, 2020).
24           Apple’s DTSA claim against Mr. Hardage also fails because Apple has not alleged improper
25 acquisition of any trade secret. Apple’s allegations against Mr. Hardage center on him ac cessing
26 and copying Apple files in the course of his work. SAC ¶¶ 15, 69-76, 139, and 155. Simply put,
27
     2 The Roffman Declaration is incorporated by reference into the SAC. See, e.g., SAC ¶¶ 140,
28
     150.
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 1 Apple does not allege that Mr. Hardage improperly acquired trade secrets—only that he properly
 2 acquired the information while working at Apple, then retained some information after leaving the
 3 company. This is insufficient to support its claim. Mot. at 11; see Zurich, 538 F. Supp. at 404–405
 4 (dismissing a DTSA claim where the employee “was authorized to acquire [ ] information as part
 5 of his job, so he did not acquire it by improper means.”). Apple has not alleged that Mr. Hardage
 6 has either used or disclosed any Apple trade secret, and has similarly failed to allege any specific
 7 harm stemming from Mr. Hardage allegedly downloading (but not using or disclosing) Apple files.
 8 See generally SAC ¶¶ 69-76. As a result, its claim against Mr. Hardage amounts only to an
 9 allegation that he retained Apple files after leaving his job. This is not sufficient to state a claim
10 under the DTSA. See Angel Oak, 593 F. Supp. 3d at 1245.
11                 2.      Apple Has Not Stated a DTSA Claim Against Mr. Pinot
12          Apple has failed to state a DTSA claim against Mr. Pinot because Apple has not alleged
13 that he acquired any Apple trade secrets through improper means. The DTSA defines “improper
14 means” as “theft, bribery, misrepresentation, breach or inducement of a breach of a duty to maintain
15 secret, or espionage[.]” 18 U.S.C. § 1839(6)(A). Here, the SAC alleges only that Mr. Pinot “began
16 weekly Time Machine backups [ ] in December 2020,” which continued through August 2021 when
17 he resigned from Apple. SAC ¶¶ 95, 97. These backups were made automatically and on an ongoing
18 basis while Mr. Pinot was an Apple employee, beginning six months before he spoke with Rivos
19 (and before Rivos was founded). SAC ¶¶ 90, 95.
20          Apple argues that Mr. Pinot’s automated backups were misappropriation because “[h]e knew
21 he was not authorized to take the information outside of Apple but did it anyway.” Opp. at 23. This
22 is not the standard the DTSA requires for misappropriation. For example, in Zurich v. American
23 Life Insurance Co. v. Nagel, an employee e-mailed himself copies of documents to use while
24 working at home during the pandemic. 538 F. Supp. 3d 396 (S.D.N.Y. 2021). He retained copies
25 of these documents after leaving his job. Id. at 406. The court found that this did not qualify as
26 “improper acquisition” of trade secrets under the DTSA, since merely keeping trade secrets,
27 “without threatening to use or disclose them, does not give rise to a DTSA claim.” Id. Courts have
28 repeatedly found that an employee who acquires a trade secret in the course of their employment

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 1 does not commit “misappropriation” under the DTSA if they inadvertently retain the information
 2 after leaving their job. See, e.g., Prominence Advisors, Inc., 2017 WL 6988661, at *4 (finding that
 3 the complaint did not state a claim for misappropriation since the defendant’s acquisition of files in
 4 a cloud account and on an external hard drive were both made during his prior employment, in the
 5 course of carrying out his duties); see also Angel Oak, 593 F. Supp. 3d at 1245; Packaging Corp.,
 6 419 F. Supp. 3d at 1066. Apple has failed to plead that Mr. Pinot improperly acquired any trade
 7 secrets, and does not allege that he has either used or disclosed any trade secrets.
 8          Apple has also failed to identify the specific trade secrets taken by Mr. Pinot, allegin g only
 9 generally that he retained “highly confidential technical specifications and other details about
10 Apple’s SoC physical design.” SAC ¶ 96. Apple has similarly failed to allege any harm or even
11 threatened harm because Apple acknowledges that Mr. Pinot’s Time Capsule is no longer in his
12 possession and that an image has been produced to a neutral forensic examiner. SAC ¶ 98.
13                 3.      Apple Has Not Stated a DTSA Claim Against Mr. Rajamani
14          Apple has failed to state a DTSA claim against Mr. Rajamani because the SAC does not
15 identify which trade secrets, if any, he retained; it does not allege improper acquisition, use or
16 disclosure of any trade secret; and fails to identify harm. Apple alleges that Mr. Rajamani
17 downloaded and transferred unspecified “files on Apple’s proprietary and trade secret designs” and
18 “retained Apple confidential information on his personal iCloud Drive when it was disconnected
19 from his Apple-issued laptop[.]” SAC ¶¶ 103, 105. Apple had a forensic investigator review Mr.
20 Rajamani’s Apple-issued laptop, but the forensic investigator was only able to confirm that Mr.
21 Rajamani “wirelessly transfer[red] four Python files to himself” before resigning. Dkt. 22 -4 ¶ 28.
22 The forensic examiner offered no opinions about whether the Python files c ontained Apple
23 information or had filenames suggesting that they related to Apple projects. Dkt. 22-4 ¶ 28. Apple’s
24 bare allegation that Mr. Rajamani transferred “files on Apple’s proprietary and trade secret designs”
25 is insufficient to satisfy the first element of a DTSA claim.
26          In addition to Apple’s failure to identify any specific trade secrets, Apple has failed to allege
27 that Mr. Rajamani improperly acquired, used, or disclosed any such trade secrets. Nothing in the
28 SAC suggests that Mr. Rajamani’s actions rose to the level of “theft, bribery, misrepresentation,

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 1 breach or inducement of a breach of a duty to maintain secrecy, or espionage .” 18 U.S.C. §
 2 1839(6)(A). Even when all inferences are drawn in Apple’s favor, the SAC only describes Mr.
 3 Rajamani retaining four Python files and other unspecified files in an iCloud Drive after leaving
 4 Apple. SAC ¶¶ 103, 105 and Dkt. 22-4 ¶ 28. This is not sufficient to establish misappropriation.
 5 See Quintessential, LLC v. Quintessential Brands S.A., 2022 WL 357502, at *1 (N.D. Cal. Feb. 7,
 6 2022) (the inadvertent acquisition of trade secrets is not sufficient to state a DTSA claim). For the
 7 same reason, Apple’s perfunctory allegation that it has been harmed b y Mr. Rajamani retaining—
 8 but not using or disclosing—unspecified Apple files fails to meet the required standard for pleading
 9 harm.
10                  4.     Apple Has Not Stated a DTSA Claim Against Mr. Wen
11           Plaintiff’s DTSA claim against Mr. Wen should be dismissed. Apple has failed to allege
12 that Mr. Wen improperly acquired any Apple trade secrets. The DTSA prohibits the acquisition of
13 a trade secret by “improper means,” which is defined to include “theft, bribery, misrepresentation,
14 breach or inducement of a breach of a duty to maintain secrecy, or espionage[.]” 18 U.S.C. §
15 1839(6)(A). The SAC does not allege that Mr. Wen used such improper means to acquire any
16 Apple files. See Angel Oak, 593 F. Supp. 3d at 1245; Packaging Corp., 419 F. Supp. 3d at 1066
17 (dismissing DTSA claim for failure to allege misappropriation where “the complaint itself makes
18 plain that rather than acquiring the alleged trade secrets by improper means, [defendant] acquired
19 them through the normal course of his employment”). Nor does the SAC allege that Mr. Wen
20 disclosed or used any Apple trade secrets. Mot. at 10-12. Rather, the SAC suggests that Mr. Wen
21 inadvertently retained Apple work files while attempting to copy personal files off his Apple-issued
22 laptop.
23           Apple has not stated a DTSA claim against Mr. Wen under a theory that there is a threat Mr.
24 Wen will disclose or use Apple trade secrets. The SAC acknowledges that Mr. Wen “has agreed to
25 return any Apple confidential information in his possession, to make available for fo rensic
26 inspection any devices that were used to store or transmit Apple information, and to refrain from
27 making use of Apple confidential information.” SAC ¶ 68. Mr. Wen has already surrendered his
28 hard drive to the neutral forensics vendor that Apple appointed. Id. ¶¶ 67, 127, 134. In light of

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 1 these safeguards, there is no threat that Mr. Wen will disclose or use any Apple trade secrets. For
 2 the same reason, Apple has not alleged that it has suffered any specific harm given that Mr. Wen’s
 3 devices have already been sequestered. See DTC Energy Grp., Inc., 2018 WL 1138295, at *7.
 4                  5.      Apple Has Not Stated a Misappropriation Claim Against Mr. Ye
 5          Apple’s allegations against Mr. Ye span just a handful of paragraphs in the SAC (SAC ¶¶ 7,
 6 16, 77-86). The bulk of those allegations describe undisputedly lawful activity, including working
 7 at Apple (SAC ¶¶ 77-78) and later interviewing for and accepting a job at Rivos (SAC ¶¶ 79 -82).
 8 The only substantive allegation against Mr. Ye is that he “saved multiple highly-confidential source
 9 code repositories for unannounced, in development projects in his iCloud drive” which he allegedly
10 continues to have access to. SAC ¶¶ 86 and 157. Apple asserts in the SAC that “[t]he documents
11 that have been improperly retained are described in more detail in the declarations” filed in support
12 of Apple’s TRO motion at Dkts. 22-3, 22-4, and 22-5. SAC ¶ 140. However, none of these
13 declarations mentions Mr. Ye. For example, Dkt. 22-3, which supposedly “identif[ies] specific files
14 and folders that were taken” does not list a single file allegedly taken by Mr. Ye.
15          The DTSA claim against Mr. Ye is insufficient since it fails to identify any particular trade
16 secret that Mr. Ye allegedly misappropriated. Simply alleging that Mr. Ye took “source code” is
17 not enough. See Gopher Media LLC v. Mod. Doc Media, 2023 WL 350531, at *9 (S.D. Cal. Jan.
18 20, 2023) (general allegations “set out in broad, categorical terms” not sufficient to plead trade
19 secrets). Apple also fails to allege that Mr. Ye improperly acquired the source code. The SAC
20 acknowledges that Mr. Ye was authorized to access SoC source code during his employment at
21 Apple. SAC ¶ 39. The only plausible allegation of wrongdoing is that Mr. Ye “continues to have
22 access” to a folder containing Apple source code on his personal iCloud account that Apple
23 encouraged him to use in connection with his work at Apple. SAC ¶ 86. In short, Apple has not
24 established that Mr. Ye improperly acquired any of its trade secrets, and has similarly failed to allege
25 disclosure, use, or harm. Apple’s allegations that Mr. Ye retained access to an iCloud folder, without
26 more, are insufficient to state a DTSA claim against him. See Quintessential, 2022 WL 357502, at
27 *1 (the inadvertent acquisition of trade secrets is not sufficient to state a DTSA claim).
28

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 1 III.     APPLE HAS FAILED TO STATE A BREACH OF CONTRACT CLAIM AGAINST
            THE INDIVIDUAL DEFENDANTS
 2
 3          Apple has not pleaded facts sufficient to state a claim against the Individual Defendants for

 4 breach of their Apple Intellectual Property Agreements (“IPA”). At minimum, the SAC lacks
                                                                  3



 5 specific allegations of breach and harm attributable to each Individual Defendant. For many of the
 6 Individual Defendants, Apple has not even identified which confidential files were allegedly taken
 7 beyond the barest description. This is insufficient to support its claim for breach.
 8          A.      Apple Has Failed to Plead a Breach of the IPA

 9          Apple has failed to plead facts establishing a breach of the IPA by the Individual Defendants.

10 Apple’s SAC alleges that files were retained by certain former employees, but fails to describe the
11 files taken by most of the Individual Defendants with any specificity, and fails to plead facts
12 demonstrating that the files contain proprietary or confidential information. In a claim for breach
13 of a confidentiality agreement, the plaintiff must plead facts regarding “what information was
14 allegedly disclosed or how it was disclosed.” Sensible Foods, LLC v. World Gourmet, Inc., 2011
15 WL 5244716, at *5 (N.D. Cal. Nov. 3, 2011).
16          Apple asserts that courts do not impose “a strict requirement” to identify every item of

17 confidential information taken to support a claim for breach of contract (Opp. at 12), relying on
18 Qpid.me, Inc. v. Schrom, 2013 WL 4833990 (S.D. Cal. Sept. 9, 2013). However, in Qpid.me the
19 employee sued for breach was accused not just of taking confidential information, but also changing
20 passwords that blocked company access to key systems and failing to perform months of work.
21 2013 WL 4833990, at *1-3 and 6-7. In light of the extensive breaches of the employment agreement,
22 the court did not require the plaintiff to identify all of the confidential information taken. Here, the
23 only breach alleged is retaining confidential information—yet for most Individual Defendants,
24 Apple has provided only the barest description of what information was retained. See Section III.C,
25
   3 Apple continues to conflate the IPA with the Checklist, contending that the Checklist “reminded
26 the Individual Defendants of their obligations under the IPA and ratified them.” Opp. at 13 n.4. To
   the extent Apple alleges the Individual Defendants’ conduct violated policies in a document other
27 than the IPA (such as the Checklist), it must present the material terms of those contracts in a
28 separate claim. See Langan v. United Servs. Auto. Ass’n, 69 F. Supp. 3d 965, 979 (N.D. Cal. 2014).
   Having failed to do so, any suggestion that an Individual Defendant “breached” the Checklist fails.
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 1 infra. Apple’s failure to identify the confidential information allegedly retained by the Individual
 2 Defendants dooms its claim for breach of the IPA. See Artec Grp., Inc. v. Klimov, 2016 WL
 3 8223346, at *4 (N.D. Cal. Dec. 22, 2016) (dismissing claim for breach of a non-disclosure
 4 agreement for failing to “identify with specificity what confidential information is at issue.”).
 5           B.     Apple Has Failed to Plead Harm
 6           Apple has also failed to plead the harm required to state a claim for breach of the IPA. Low
 7 v. LinkedIn Corp., 900 F. Supp. 2d 1010, 1028 (N.D. Cal. 2012). Apple has not identified any harm
 8 beyond its conclusory allegation that “has suffered and continues to suffer monetary and non-
 9 monetary injury and harm” as a result of the Individual Defendants’ breach. SAC ¶ 143. This is
10 insufficient to sustain its claim for breach of the IPA. See Aguilera v. Pirelli Armstrong Tire Corp.,
11 223 F.3d 1010, 1015 (9th Cir. 2000) (“Under California law, a breach of contract claim requires a
12 showing of appreciable and actual damage.”). Apple’s SAC speculates about possible future harm,
13 such as its belief that “[f]urther discovery will likely show that Apple’s trade secret information has
14 been improperly disclosed . . . and used[.]” SAC ¶ 159. But pleading “speculative harm, or threat
15 of future harm” is insufficient. Low, 900 F. Supp. at 1028; see also Lee v. Lee, 2022 WL 18278433,
16 at *11 (C.D. Cal. Dec. 1, 2022) (granting motion to dismiss contract claim where only allegation of
17 damages was that the “disclosure of confidential information” caused damages in “an amount to be
18 determined at trial”).4
19           C.     Apple’s Breach of Contract Claims Against the Individual Defendants Fail
20                  1.       Apple Has Failed to State a Breach of Contract Claim Against Mr. Hardage
21           Apple’s assertions against Mr. Hardage for breach of the IPA (SAC ¶¶ 15, 69-76, 139 and
22 155) center on him allegedly “remov[ing] approximately 37 gigabytes of data containing Apple
23 confidential files” in his last days working at Apple. SAC ¶ 73. However, the only confidential
24 information that Apple alleges Mr. Hardage improperly retained was “nine directories named with
25 specific confidential SoC project names” and a “Home” directory. Id. ¶ 74. Apple’s forensic
26
27   4Although Apple describes the level of detail necessary to allege harm as “not demanding,”
28 citing Cisco Sys., Inc. v. Chung, 2020 WL 4504409, at *10 (N.D. Cal. Aug. 5, 2020), the Cisco
   court was analyzing a trade secret misappropriation claim, not a breach of contract claim.
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 1 investigator stated that “it is likely” that Mr. Hardage transferred a “folder containing Apple
 2 confidential files” from his Apple-issued computer to a USB drive, but stopped short of identifying
 3 specific files or confidential information allegedly taken. See Dkt. 22-4 ¶¶ 35-36. Apple’s claim
 4 for breach of the IPA against Mr. Hardage fails because it has not identified the confidential
 5 information retained with any specificity, and has failed to allege harm. See Artec Grp., 2016 WL
 6 8223346, at *4 and Lee, 2022 WL 18278433, at *11.
 7                 2.      Apple Has Failed to State a Breach of Contract Claim Against Mr. Pinot
 8          Apple’s primary allegation against Mr. Pinot is that he began making weekly, automated
 9 backups of his Apple laptop in December 2020. SAC ¶¶ 95 -97. By the time Mr. Pinot resigned
10 from Apple in August 2021, 55 backups had been created. Id. Apple alleges that “over a terabyte”
11 of information is stored in these backups (Id. ¶ 5), but otherwise provides little information about
12 what confidential information Mr. Pinot allegedly retained in violation of the IPA. Apple alleges
13 generally that Mr. Pinot took “files pertaining to unreleased Apple SoC projects” and “technical
14 specifications . . . about Apple’s SoC physical design.” Id. ¶ 96. Apple’s forensic investigator
15 examined Mr. Pinot’s Apple-issued laptop, but concluded only that Mr. Pinot retained unspecified
16 Apple confidential files. Dkt. 22-4 ¶ 27. This is insufficient to support a claim for breach of a
17 confidentiality agreement. See Artec Grp., 2016 WL 8223346 at *4 (dismissing claim for breach of
18 an NDA for failing to “identify with specificity what confidential information is at issue.”). Apple
19 has also failed to allege any harm stemming from Mr. Pinot’s retention of Time Capsule backups
20 after leaving Apple. The Time Capsule is no longer in Mr. Pinot’s possession, and a forensic image
21 has been produced to a neutral examiner for analysis. SAC ¶ 98. Without a colorable allegation of
22 harm, Apple’s claim for breach of the IPA against Mr. Pinot fails. See Low, 900 F. Supp. 2d at
23 1028.
24                 3.      Apple Has Failed to State a Breach of Contract Claim Against Mr.
                           Rajamani
25
            The SAC’s allegations against Mr. Rajamani (SAC ¶¶ 18, 99-106, 139, 156) center on the
26
     accusation that he “retained Apple confidential information on his personal iCloud Drive when it
27
     was disconnected from his Apple-issued laptop” and transferred “files on Apple’s proprietary and
28

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 1 trade secret designs[.]” SAC ¶¶ 103, 105. 5 Apple had a forensic investigator review Mr. Rajamani’s
 2 laptop, but the forensic investigator was only able to confirm that Mr. Rajamani “wirelessly
 3 transfer[red] four Python files to himself” before resigning.        Dkt. 22 -4 ¶ 28. The forensic
 4 investigator admitted that he had “limited visibility into the potential data that was transferred” and
 5 offered no opinions about whether the Python files related to Apple projects. Id.
 6           “To raise a right to relief above the speculative level” in a claim for breach of a
 7 confidentiality agreement, the plaintiff “must provide greater detail about the specific confidential
 8 information” that was allegedly misused. Stemcell Techs. Canada Inc. v. StemeExpress, LLC, 2021
 9 WL 5349106, at *1 (N.D. Cal. Nov. 17, 2021) (granting motion to dismiss claim for breach of
10 confidentiality agreement where the confidential information was described in an “over-inclusive
11 list”). Simply alleging generally that Mr. Rajamani transferred four files written in Python language
12 does not establish that Mr. Rajamani improperly retained Apple confidential information. And
13 Apple’s general allegation that Mr. Rajamani retained “Apple confidential files in his iCloud Drive”
14 does not establish either breach or harm. Apple’s claim for breach of the IPA against Mr. Rajamani
15 must be dismissed.
16                  4.      Apple Has Failed to State a Breach of Contract Claim Against Mr. Wang
17           Apple’s only claim against Mr. Wang is for breach of the IPA, and its allegations cover just
18 a few paragraphs. SAC ¶¶ 5, 19, 107-113, 132, 139. Apple alleges that “Mr. Wang’s personal
19 iCloud Drive still contained Apple files at the time of his termination,” including “screenshots with
20 excerpts of a GPU component microarchitecture specification[.]” SAC ¶ 112. Months later, Apple
21 sent Mr. Wang a letter “asking for return of any Apple information in his possession and
22 confirmation that he was no longer accessing or using the information.” Id. ¶ 113. Mr. Wang
23 responded by explaining that his iCloud drive synced with folders on his Apple laptop, resulting in
24
25   5 Apple’s remaining allegations are that Mr. Rajamani unsuccessfully attempted to sign out of
   accounts and delete iMessages before returning his Apple-issued laptop, and that he cleared his
26 browser history. SAC ¶¶ 103-04. As demonstrated in the Motion to Dismiss (Dkt. 100 at 22-23),
   the IPA does not prohibit employees from deleting browser history, messages, or login information
27 on their Apple-issued laptops. As a result, none of the allegations about Mr. Rajamani deleting, or
28 attempting to delete, such information before returning his laptop are sufficient to plead a breach of
   the IPA.
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 1 some Apple files migrating to his personal laptop, and said he wanted to resolve the dispute “in a
 2 constructive manner.” Id.        After retaining counsel, Mr. Wang requested that Apple direct
 3 communications to counsel. Id. Apple faults Mr. Wang for this normal request, and said that it
 4 “ha[d] no alternative but to name him as an Individual Defendant in this case.” SAC ¶ 107.
 5          Apple’s claim against Mr. Wang fails because it has not identified any specific Apple
 6 confidential information Mr. Wang wrongfully retained. Its conclusory allegation that Mr. Wang is
 7 in possession of “screenshots with excerpts of a GPU component” and other unspecified Apple files
 8 is insufficient to sustain its claim for breach of the IPA. See Stemcell Techs. Canada Inc., 2021 WL
 9 5349106, at *1 (N.D. Cal. Nov. 17, 2021) (“greater detail about the specific confidential
10 information” needed to state a claim for breach of a confidentiality agreement). Apple has also
11 failed to plead facts showing that it suffered harm as a result of Mr. Wang allegedly retaining access
12 to Apple files in his iCloud Drive. Without specific allegations demonstrating breach or harm,
13 Apple’s claim for breach of the IPA against Mr. Wang fails.
14                  5.     Apple Has Failed to State a Breach of Contract Claim Against Mr. Wen
15          Apple alleges that Mr. Wen breached the IPA by “failing to return Apple’s property and
16 confidential, proprietary, and trade secret information at the time of [his] departure from Apple.”
17 SAC ¶ 140. In the SAC, however, Apple also acknowledges that Mr. Wen has turned over the Apple
18 information in his possession (SAC ¶ 127), has agreed to a forensic examination of any devices that
19 could contain Apple confidential information (SAC ¶ 5), and has agreed to refrain from using any
20 Apple confidential information. (SAC ¶ 68). With these safeguards in place, Apple has not pleaded
21 facts plausibly demonstrating that it has suffered any harm as a result of Mr. Wen’s alleged breach
22 of the IPA and, therefore, its claim should be dismissed.
23                  6.     Apple Has Failed to State a Breach of Contract Claim Against Mr. Ye
24          Apple’s allegations against Mr. Ye describe undisputedly lawful activity, including
25 browsing job postings online (SAC ¶¶ 80-81), interviewing for a job at Rivos (id. ¶¶ 82-83), and
26 accepting a job at Rivos (id.¶ 79). In the days leading up to his departure from Apple, Mr. Ye
27 researched how to disconnect his personal iCloud account from his work laptop (id. ¶ 85) and deleted
28 personal messages from his work laptop. Id. ¶ 84. None of these allegations support Apple’s claim

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 1 for breach of the IPA. 6
 2           The only other allegation against Mr. Ye is that he “saved multiple highly -confidential
 3 source code repositories for unannounced, in development projects in his iCloud drive” and that he
 4 continues to have access to those repositories. SAC ¶¶ 86 and 157. Apple asserts in the SAC that
 5 “[t]he documents that have been improperly retained are described in more detail in the
 6 declarations” attached to the Complaint at Dkts. 22-3, 22-4, and 22-5. SAC ¶ 140. However, none
 7 of these declarations mentions Mr. Ye. For example, Dkt. 22 -3, which supposedly “identif[ies]
 8 specific files and folders that were taken” lists only files and folders allegedly taken by Mr. Wen. 7
 9           Apple’s allegation that Mr. Ye saved unspecified “source code repositories” for unnamed
10 “in development projects in his iCloud drive” before leaving Apple is insufficient to support a claim
11 for breach, as Apple has not identified the information at issue in any detail. See Pellerin v.
12 Honeywell Int’l, Inc., 877 F. Supp. 2d 983, 990–91 (S.D. Cal. 2012). Apple’s claim against Mr. Ye
13 also fails because Apple has not pleaded any facts demonstrating that it suffered any harm from Mr.
14 Ye allegedly retaining access to his iCloud drive folder. See Aguilera, 223 F.3d at 1015. Apple’s
15 claim for breach of the IPA against Mr. Ye should be dismissed.
16 IV.       CONCLUSION
17
             For these reasons, the Individual Defendants respectfully request that the Court dismiss with
18
     prejudice all claims asserted against them in Apple’s Second Amended Complaint.
19
20
21
22
23
24   6Apple alleges that Mr. Ye and the other Individual Defendants “deleted, scrubbed, or otherwise
25 modified the contents of their [ ] devices prior to returning them . . . in violation of, at least, the
   IPAs.” SAC ¶ 141. However, those IPAs do not prohibit deleting personal messages, browsing
26 histories, or other information on a laptop before returning it to Apple to be re-issued to a future
   employee. See Dkts. 93-3 (IPA for Mr. Ye); see also Dkts. 93-1—93-7 (IPAs for other Defendants).
27 7 Apple alleges that more detailed descriptions of files taken by individual employees was provided
28 on September 14. Opp. at 9 n. 3 discussing Dkt. 140-1. Apple cannot bolster the SAC with new
   allegations in its Opposition. See In re Accuray, 757 F. Supp. 2d at 926.
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